Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 1 of 8




        Exhibit A
                              Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 2 of 8

                                                               Dispute Chart

                                                       Parties to the                                        Resolution       Briefing
 Case Number              Docket Number                                                  Issue
                                                          Dispute                                              Status          Status
#1 Breach of                                       Dominion and Patrick        Violation of the June 16,   ROUND 1        Raised in
Amended                                            Byrne                       2024, Amended Protective                   March 12,
Protective Order                                                               Order [Byrne Dkt. 46]                      2024, email to
                                                                                                                          Judge
                                                                                                                          Upadhyaya
                                                                                                                          and Judge
                                                                                                                          Nichols.
#2 Deposition        Dominion’s Motion (as         Dominion and all            Deposition Protocol         ROUND 1        Disputed issue
Protocol             to all defendants) is filed   defendants in the                                       Awaiting       briefed
                     at Powell ECF 114, 114-       consolidated or             The sole disputed issue     argument or    following
Dominion v. Herring 1        (brief),    114-2     voluntarily coordinated     concerns remote             decision, as   9/21/2023
Networks (21-cv-     (proposed order)              cases*                      depositions.                Court          hearing.
2130)                    • OAN Response                                                                    determines
                              (Herring     ECF                                                             appropriate.
Dominion v. My                156)
Pillow, Inc. (21-cv-     • Bobb Response
445)                          (Herring     ECF
                              155)
Dominion v.              • Powell Response
Giuliani (21-cv-              (Powell      ECF
0213)                         115)

Dominion v. Powell     OAN’s Motion
(21-cv-040)            (Herring ECF 152
                       (brief), 152-1
Dominion v.            (proposed protocol))
Byrne (21-cv-              • Dominion
2131)                           Response
                                (Herring ECF
                                154)

                                                                      1
                     Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 3 of 8

                                         Parties to the                                Resolution   Briefing
Case Number     Docket Number                                       Issue
                                           Dispute                                       Status      Status
                 •   OAN Reply
                     (Herring ECF
                     157)

              Bobb’s Motion
              (Herring ECF 153)
                 • Dominion
                     Response
                     (Herring ECF
                     154)

              Powell’s Motion
              (Powell ECF 113
              (brief), 113-3
              (proposed protocol))
                  • Dominion
                       Response
                       (Powell ECF
                       116)

              Byrne’s Motion
              (Byrne ECF 69
              (brief), 69-1
              (proposed protocol))
                  • Dominion
                       Response
                       (Byrne ECF
                       70)

              Lindell’s Notice of
              Joinder (Lindell ECF
              201)

                                                          2
                               Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 4 of 8

                                                          Parties to the                                      Resolution      Briefing
 Case Number              Docket Number                                                  Issue
                                                            Dispute                                             Status         Status
                           •   Dominion
                               Response
                               (Lindell ECF
                               202)




#3 Discovery           Dominion’s Motion (as         Dominion and all          Discovery Protocol           ROUND 1        Disputed
Protocol               to all defendants) is filed   defendants in the                                      Awaiting       issue briefed
Dominion v. Herring    at Powell ECF 107, 107-       consolidated or           Disputed issues:             argument or    following
Networks (21-cv-       1 (brief), 107-2              voluntarily coordinated   (1) Custodian interview      decision, as   09/21/2023
2130)                  (proposed order)              cases*                    process (Dom: §3(b), Ex.4,   Court          hearing.
                           • OAN Response                                      Ex.5, §3(c); Def: §4(b))     determines
Dominion v. My                 (Herring      ECF                               • Scope of individuals       appropriate.
Pillow, Inc. (21-cv-           145)                                                interviewed
445)                       • Bobb Response                                     • Whether must ask
                               (Herring      ECF                                   about topics (Ex.4),
Dominion v.                    147)                                                apps (Ex.5)
Giuliani (21-cv-           • Powell Response                                   • Whether limited to
0213)                          (Powell       ECF                                   “work habits” and work
                               110)                                                devices
Dominion v. Powell         • DTR Response                                      • Scope of searches
(21-cv-040)                    (Powell       ECF                                   based on interviews
                               111)
Dominion v. Byrne          • Byrne Response                                    (2) Responsiveness &
(21-cv-2131)                   (Byrne ECF 67)                                  Relevance Review (Def
                                                                               §6)
                       OAN’s Motion
                       (Herring ECF 142                                        (3) Organization of
                       (brief), 142-1                                          Documents (Dom: §8(a),
                       (proposed protocol))                                    Def §8(a)
                           • Dominion
                                Response
                                                                           3
                     Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 5 of 8

                                         Parties to the                                     Resolution   Briefing
Case Number     Docket Number                                           Issue
                                           Dispute                                            Status      Status
                     (Herring ECF                             (4) Hit Reports (Dom: §5)
                     146)
                 •   OAN Reply                                (5) Text Messages (Dom:
                     (Herring ECF                             §7, Def: §7)
                     150)                                     • Whether 24-hour
                                                                  portions of text
              Bobb’s Motion                                       messages that hit on
              (Herring ECF 143)                                   search terms may be
                 • Dominion                                       redacted for relevance
                     Response                                     or responsiveness
                     (Herring ECF
                     146)                                     (6) Date Ranges for
                                                              Searches (Dom: §6, Def:
              Powell’s Motion                                 §3(a)
              (Powell ECF 106,                                • Which proposed date
              106-1 (brief), 106-4                                ranges govern custodial
              (proposed protocol))                                and noncustodial and
                  • Dominion                                      mobile data production,
                     Response                                     absent party agreement
                     (Powell ECF                                  or court order
                     112)
                                                              (7) List of Custodians
              Byrne’s Motion                                  (Dom: §3(a) & Ex.3;
              (Byrne ECF 66, 66-1                             Def: §4(a) & Ex.3):
              (brief), 66-2                                   provision language is
              (proposed protocol))                            agreed; contents of Ex.3
                  • Dominion                                  are disputed
                       Response
                       (Byrne ECF                             (8) Search Methodology
                       68)                                    (Dom: §4, Ex.6, Def: §5)
                                                              • Whether using search
                                                                  terms, custodians,
                                                                  and timeframes is an
                                                          4
                             Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 6 of 8

                                                      Parties to the                                          Resolution        Briefing
    Case Number          Docket Number                                                  Issue
                                                        Dispute                                                 Status           Status
                      Lindell’s Notice of                                        acceptable search
                      Joinder (Lindell ECF                                       methodology
                      199)                                                   •   Whether to enter the
                          • Dominion                                             parties’ agreed search
                             Response                                            terms as part of the
                             (Powell ECF                                         court’s order (Ex.6)
                             112)
                                                                             (9) Privilege Log (§9)
                                                                             • Whether to refer to
                                                                                 Ex.1 (the parties’
                                                                                 agreed ESI protocol
                                                                                 which governs
                                                                                 privilege logs) or to
                                                                                 the Federal Rules

                                                                             (10) 30(b)(6)
                                                                             Depositions (Dom: §10)
                                                                             • Whether to authorize
                                                                                parties to complete a
                                                                                first 30(b)(6)
                                                                                deposition on
                                                                                discovery topics
                                                                                before a deposition
                                                                                on other topics 2




2
 The other issues in the proposed discovery protocol are agreed: Protocol for Production of Electronically Stored Information and Paper
Documents (Dom & Def: §1 & Ex. 1); Stipulation Regarding Expert Discovery (Dom & Def: §2 & Ex. 2); Rolling & Supplemental
Productions (Dom & Def: §8(b), (c)); Substantial Completion Date (Def §8(d)) [parties now agree]; and Relief & Modification of this Order
(Def §10) [parties now agree].

                                                                       5
                           Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 7 of 8

                                                   Parties to the                                         Resolution          Briefing
 Case Number          Docket Number                                               Issue
                                                      Dispute                                                Status            Status
#4 Scheduling       No docket entry.          Dominion and all                                         ROUND 1            No briefing
Order – Extension                             defendants in the         Defendants’ request for an     Meet and           to date.
of Discovery                                  consolidated or           extension of discovery         confer will be
                                              voluntarily coordinated   deadlines.                     complete
                                              cases*                                                   before
                                                                                                       hearing.
#5 OAN-Specific     No docket entry.          Dominion and all          Disputes raised by OAN         ROUND 2            No briefing
Disputes            Request to raise          defendants in Herring     Defendants:                    All issues are     has been
                    discovery disputes sent   Networks, except Bobb.                                   ripe for           permitted to
Dominion v.         to Judge Nichols on                                 •   Dominion’s objections      argument or        date.
Herring Networks    January 31, 2024, and                                   to certain RFPs served     briefing, at the
(21-cv-2130)        Judge Upadhyaya on                                      by OAN, Robert             Court’s
                    February 2, 2024, after                                 Herring, Charles           discretion,
                    Judge Nichols’ order                                    Herring, and Chanel        following
                    referring discovery                                     Rion (“the OAN             unsuccessful
                    disputes.                                               Defendants”)               extensive
                                                                                                       meet and
                                                                        •   Dominion’s responses to    confer
                                                                            certain interrogatories    discussions.
                                                                            served by the OAN
                                                                            Defendants

                                                                        •   Date range applicable to
                                                                            RFPs served by the
                                                                            OAN Defendants for
                                                                            Dominion searches

                                                                        •   Certain of the OAN
                                                                            Defendants’ proposed
                                                                            search terms



                                                                 6
                               Case 1:21-cv-02131-CJN-MAU Document 73-1 Filed 03/13/24 Page 8 of 8

                                                          Parties to the                                              Resolution          Briefing
 Case Number              Docket Number                                                       Issue
                                                            Dispute                                                     Status             Status
                                                                                   Disputes raised by
                                                                                   Dominion:
                                                                                   • Dominion’s request for
                                                                                      certain financial
                                                                                      information from the
                                                                                      OAN Defendants


*Defendants by case:

      •   Dominion v. Herring Networks (21-cv-2130): Herring Networks, Inc. d/b/a One America News Network, Charles Herring, Robert
          Herring, Sr., Chanel Rion, Christina Bobb
      •   Dominion v. My Pillow, Inc. (21-cv-445): Michael J. Lindell, My Pillow, Inc.
      •   Dominion v. Giuliani (21-cv-0213): Rudolph w. Giuliani
      •   Dominion v. Powell (21-cv-040): Sidney Powell, Sidney Powell, P.C., Defending the Republic
      •   Dominion v. Byrne (21-cv-2131): Patrick Byrne

Note that all claims against Rudolph Giuliani are currently subject to the automatic stay as a result of In re Rudolph W. Giuliani a/k/a Rudolph William
Giuliani, No. 1:23-cv-12055 (Bankr. S.D.N.Y.). Following briefing from the parties at Docket Nos. 49, 58, and 102, the Bankruptcy Court entered
an Order Approving Stipulation Concerning the Scope of the Automatic Stay of 11 U.S.C. § 362(a) with Respect to Certain Non-Bankruptcy Litigation
Matters (“the Bankruptcy Order”). See Exhibit B (Giuliani Bankruptcy ECF 125). The Bankruptcy Order stays Dominion’s continued prosecution
of its claims against Debtor in Dominion v. Giuliani (21-cv-0213). It expressly provides that the § 362(a) stay does not apply to the remaining
consolidated and coordinated cases. Pursuant to the Bankruptcy Order, discovery served in the remaining cases must also be served in Giuliani, and
service does not violate the stay. A copy of the Bankruptcy Order is being provided for the Judge’s convenience at Exhibit B.




                                                                           7
